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4
     Attorney for Defendant
5    Brenda Murphy                                OK/HAV
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. Cr.S. 05-270 DFL
                                     )
13             Plaintiff,            )
                                     )     STIPULATION AND ORDER RESETTING
14        v.                         )     BRIEFING SCHEDULE AND HEARING
                                     )     DATE
15                                   )
     CHARLES DOSSMAN, et al.,        )
16                                   )     Date: May 11, 2006
               Defendants.           )     Time: 10:00 a.m.
17   _______________________________ )     Judge: Hon. David F. Levi
18
19        The defendants: Charles Dossman, by and through counsel Jeffery
20   Staniels; Rudolph Gibson, by and through counsel Kevin Clymo; and
21   Brenda Murphy, by and through counsel Krista Hart, along with the
22   plaintiff United States by and through counsel Assistant U.S. Attorney
23   Matt Segal, hereby stipulate and agree that the briefing schedule
24   currently set be reset as follows:
25   //
26   //
27
28                                          1
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1           Motions and briefs due:        March 30, 2006
2           Opposition briefs due:         April 20, 2006
3           Reply briefs due:              May 4, 2006
4           Hearing date:                  May 11, 2006 at 10:00 a.m.1
5           It is further stipulated and agreed between the parties that the
6    period of time from March 9, 2006, and March 30, 2006, should be
7    excluded in computing the time within which the trial of the above
8    criminal prosecution must commence for purposes of the Speedy Trial
9    Act.       All parties stipulate and agree that this is an appropriate
10   exclusion of time within the meaning of Title 18, United States Code,
11   sections 3161(h)(8)(B)(iv) (Local Code T4).
12          Defense counsel Krista Hart has been in trial in California
13   Superior Court for the County of Sacramento, in Department 12, case
14   number 05F01388, People v. Bomer and Ceasar.             The trial began February
15   22, 2006, and is expected to conclude on or about March 23, 2006.
16   Counsel has not had time to prepare motions.
17          Defense counsel Jeffrey Staniels and Kevin Clymo have been working
18   on motions, but need additional time to conduct investigation, legal
19   research and prepare the motions.
20
21                                               Respectfully submitted,
22
23   DATED: March 9, 2006                         /s/ Krista Hart
                                                 Attorney for Brenda Murphy
24
25
            1
            All parties understand that Jeffrey Staniels has a jury trial
26   set for May 9, 2006, which may will be continued. In the event that
     the jury trial is not continued, all parties agree to reset the hearing
27   date to accommodate the jury trial.

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2    DATED: March 9, 2006                    /s/ Jeffrey Staniels
                                            Attorney for Charles Dossman
3                                           (Signed by Krista Hart per
                                            telephone conversation and e-mail)
4
5
6    DATED: March 9, 2006                    /s/ Kevin Clymo
                                            Attorney for Rudolph Gibson
7                                           (Signed by Krista Hart per
                                            telephone conversation and e-mail)
8
9
10   DATED: March 9, 2006                   McGREGOR SCOTT
                                            United States Attorney
11
12                                           /s/ Matt Segal
                                            Assistant U.S. Attorney
13                                          (Signed by Krista Hart per
                                            telephone conversation and e-mail)
14
15
16
                                       O R D E R
17
18   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
19
20   DATED: 3/9/2006
21
22
23                                              DAVID F. LEVI
24                                              United States District Judge

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28                                          3
